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                    IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Great Lakes Gas Transmission Limited              Court File No. 09-CV-03037 SRN/LIB
Partnership,
             Plaintiff,

       v.                                         PLAINTIFF’S MOTION IN LIMINE

Essar Steel Minnesota LLC, Essar Steel
Limited f/k/a Essar Steel Holdings, Ltd.,
Essar Steel India Limited f/k/a Essar Steel
Limited, and Essar Global Fund Ltd. f/k/a
Essar Global Limited,
              Defendants.



       Pursuant to Local Rules 16.6(b)(5) and 39.1(b)(1)(A)(v), and before the voir dire

examination of the jury panel, Plaintiff Great Lakes Gas Transmission Limited

Partnership (“Great Lakes”) files this motion in limine. Great Lakes seeks to exclude

matters that are inadmissible, irrelevant, confusing or prejudicial to the material issues in

this case.

       If Defendants are permitted to inject these matters in this case through

documentary evidence, an attorney or a witness, Defendants will cause harm to Great

Lakes’ case, which no jury instruction would cure.

       If any of these matters are directly or indirectly brought to the attention of the jury,

Great Lakes will be compelled to move for a mistrial. In an effort to avoid prejudice and

a possible mistrial, Great Lakes files this motion in limine to exclude the following

matters and evidence from being mentioned before the jury
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MOTION IN LIMINE 1: Any evidence, statement, or argument about settlement

negotiations, and in particular, the suggestion that Defendants sought to renegotiate the

terms of the Transportation Services Agreement (“TSA”) at issue in this case or that

Great Lakes did not entertain a renegotiated contract.

       First, evidence of settlement negotiations is inadmissible. FED. R. EVID. 408.

Second, the Court has already ruled as a matter of law that Great Lakes had no obligation

to renegotiate the TSA. (Doc. No. 755, at 28) (“The law does not require a plaintiff to

accept such a speculative, radically different offer in mitigation of its damages under

these circumstances. Requiring a plaintiff to do so, under these facts, would distort the

law of contracts by permitting a breaching party to unilaterally dictate the terms of a

significantly different, renegotiated contract.”). Such negotiations are, therefore, entirely

irrelevant to the remaining issue for trial. FED. R. EVID. 401, 402. Even if they were

somehow relevant, their probative value is outweighed by the danger of unfair prejudice,

confusing the issues, misleading the jury and wasting time. FED. R. EVID. 403.



MOTION IN LIMINE 2: Any evidence, statement or argument that Great Lakes is (or

should be) limited to recovery of only the Letter of Credit in the amount of $580,000

related to the TSA, whether under Great Lakes’ Tariff or otherwise. The Court has ruled

that Great Lakes’ damages are not limited to the Letter of Credit or by the limitation of

liability provisions of Great Lakes’ Tariff. (Doc. No. 559, at 11–23). Such statements

and/or arguments are, therefore, entirely irrelevant to the remaining issue for trial. FED.



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R. EVID. 401, 402. Even if they were somehow relevant, their probative value is

outweighed by the danger of unfair prejudice, confusing the issues, misleading the jury

and wasting time. FED. R. EVID. 403.



MOTION IN LIMINE 3: Any evidence, statement or argument that Defendants were or

have been unable to obtain necessary funding for the Nashwauk Facility over time,

including any evidence of Defendants’ attempts to finance the Nashwauk Project after

Essar’s acquisition of MSI. The Court has ruled as a matter of law (on multiple

occasions) that Defendants’ performance and payment under the TSA was not

conditioned upon obtaining such financing. (Doc. No. 397, at 18–19, 23; Doc. No. 559, at

32). Such arguments or suggestions are, therefore, entirely irrelevant to the remaining

issue for trial. FED. R. EVID. 401, 402. Even if they were somehow relevant, their

probative value is outweighed by the danger of unfair prejudice, confusing the issues,

misleading the jury and wasting time. FED. R. EVID. 403.



MOTION IN LIMINE 4: Any evidence, statement or argument of Defendants’ alleged

force majeure or commercial impossibility/impracticability defenses, including mention

of the 2008 “global economic crisis,” or that any such events affect or diminish Great

Lakes’ damages in this case in any way. The Court has ruled as a matter of law (on

multiple occasions) that these defenses and/or occurrences do not excuse Defendants’

breach of contract. (Doc. No. 397; Doc. No. 559, at 30–33). The Court held that force



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majeure does not apply to financial crises or changes in financial conditions. (Doc. No.

397, at 18; Doc. No. 559, at 31). Such arguments or suggestions are, therefore, entirely

irrelevant to the remaining issue for trial. FED. R. EVID. 401, 402. Even if they were

somehow relevant, their probative value is outweighed by the danger of unfair prejudice,

confusing the issues, misleading the jury and wasting time. FED. R. EVID. 403.



MOTION IN LIMINE 5: Any evidence, statement or argument that Great Lakes could

have or should have mitigated its damages in this case. The Court has granted summary

judgment in Great Lakes’ favor on mitigation and found that Defendants’ mitigation

defense “fails as a matter of law.” (Doc. No. 755, at 37–38). Such arguments or

suggestions are, therefore, entirely irrelevant to the remaining issue for trial. FED. R.

EVID. 401, 402. Even if they were somehow relevant, their probative value is outweighed

by the danger of unfair prejudice, confusing the issues, misleading the jury and wasting

time. FED. R. EVID. 403.



MOTION IN LIMINE 6: Any evidence, statement or argument that Great Lakes

analyzed the creditworthiness of MSI, including any evidence, statement or argument that

Great Lakes “determined” MSI to be not creditworthy. The evidence submitted with the

parties’ respective motions to exclude experts conclusively shows that: (1) Great Lakes

did not analyze MSI’s credit; (2) a shipper who chooses to provide a letter of credit is not

required to provide financial statements; and (3) MSI chose to provide a letter of credit in



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lieu of demonstrating its creditworthiness. (Doc. No. 796, at 16–18, and evidence cited

therein). The insertion of such an argument, therefore, contradicts the undisputed

evidence and misleads the jury. FED. R. EVID. 403. Further, whether Great Lakes

determined MSI to be creditworthy or not is not relevant to the remaining issue for trial.

FED. R. EVID. 401, 402.




MOTION IN LIMINE 7: Any evidence, statement or argument that MSI and/or Essar

told Great Lakes (or that Great Lakes was aware) that the Nashwauk Project was delayed,

that Defendants encountered any difficulties in obtaining financing, or that gas would not

be “needed” until a later date. Again, the Court has ruled as a matter of law (on multiple

occasions) that Defendants’ breach of contract is not excused by force majeure or by

commercial impossibility/impracticability. (Doc. No. 397; Doc. No. 559, at 30–33). Such

arguments or suggestions are, therefore, entirely irrelevant to the remaining issue for trial.

FED. R. EVID. 401, 402. Even if they were somehow relevant, their probative value is

outweighed by the danger of unfair prejudice, confusing the issues, misleading the jury

and wasting time. FED. R. EVID. 403.



MOTION IN LIMINE 8: Any evidence, statement or argument concerning the “bridge

loans” entered into between MSI and Interlachen Steel Ventures in 2006 and between

MSI and Morgan Stanley in 2007. A “bridge loan” is a short-term instrument with

characteristically high rates. (See Doc. No. 777, at 20 n.20 (citing authorities); see also


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Sept. 22, 2014 Hr’g Tr., at 52–53). Such loans are not suitable as a benchmark for the

appropriate discount rate in this case and therefore are irrelevant. FED. R. EVID. 401, 402.

Moreover, the rate of interest attached to a “bridge loan” is not in any way indicative of

how a potential investor would have viewed the cash flows associated with the TSA. (See

Doc. No. 777, at 20–22). Even if the “bridge loan” was somehow relevant, its probative

value is outweighed by the danger of unfair prejudice, confusing the issues, misleading

the jury and wasting time. FED. R. EVID. 403.



MOTION IN LIMINE 9:              Any evidence, statement or argument referencing the

opinions of any expert whose testimony has been struck and/or precluded by the Court.



MOTION IN LIMINE 10: Any statement of the law, other than one about the burden

of proof and the basic legal definitions counsel believe to be applicable, before the court

rules on the law applicable to this case.



MOTION IN LIMINE 11: Any evidence, statement or argument that Great Lakes’

gross damages are anything other than the fixed amount due under the TSA and Great

Lakes’ Tariff. Based on the Court’s summary judgment rulings, the only question

remaining as to Great Lakes’ damages is the discounted value of Great Lakes’ gross

damages. Any arguments or suggestions to the contrary are, therefore, entirely irrelevant

to the remaining issue for trial. FED. R. EVID. 401, 402. Even if they were somehow



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relevant, their probative value is outweighed by the danger of unfair prejudice, confusing

the issues, misleading the jury and wasting time. FED. R. EVID. 403.



MOTION IN LIMINE 12: Any evidence, statement or argument that MSI and/or ESML

has never used and/or needed to use the capacity it contracted for under the TSA. Based

on the Court’s summary judgment rulings, the only question remaining as to Great Lakes’

damages is the discounted value of Great Lakes’ gross damages, and whether or not MSI

and/or ESML actually used the capacity does not affect either its liability or the damages

at issue. Any arguments or suggestions to the contrary are, therefore, entirely irrelevant

to the remaining issue for trial. FED. R. EVID. 401, 402. Even if they were somehow

relevant, their probative value is outweighed by the danger of unfair prejudice, confusing

the issues, misleading the jury and wasting time. FED. R. EVID. 403.


Dated: October 9, 2014                   ELROD, PLLC

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